                   Case 2:21-cv-01483-JCC Document 8 Filed 11/12/21 Page 1 of 2




                                                                THE HONORABLE JOHN C. COUGHENOUR
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                                       UNITED STATES DISTRICT COURT
 7
                                      WESTERN DISTRICT OF WASHINGTON
 8                                              AT SEATTLE

 9         BRIAN ANTHONY THORNTON,                                        CASE NO. C21-1483-JCC
10
                                          Plaintiff,                      ORDER
11
                   v.
12         HILTON WORLDWIDE HOLDINGS INC.,
           et al.,
13
                                          Defendants.
14

15              This is an action for violation of fair labor standards. (Dkt. No. 4.) Plaintiff is proceeding

16 with this action pro se and in forma pauperis. (Dkt. No. 3.) The Court, having reviewed

17 Plaintiff’s complaint, directed that a summons should issue. (See Dkt. No. 6.) Upon Plaintiff’s

18 motion for service (Dkt. No. 7), and in the interest of efficiency, the Court first directs the

19 Clerk’s Office to seek a waiver of service from Defendants before directing service by the U.S.

20 Marshal’s Service.

21              Accordingly, the Clerk is DIRECTED to send the following to each defendant by first

22 class mail: a copy of Plaintiff’s complaint, a copy of this order, two copies of the notice of

23 lawsuit and request for waiver of service of summons, a waiver of service of summons, 1 and a

24 return envelope, postage prepaid, addressed to the Clerk’s Office.

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         Defendants have a duty to avoid the unnecessary expenses of serving the summons under Fed. R. Civ. P. 4(d)(1).

     ORDER
     C21-1483-JCC
     PAGE - 1
              Case 2:21-cv-01483-JCC Document 8 Filed 11/12/21 Page 2 of 2




 1          Each defendant shall have thirty (30) days within which to return the enclosed waiver of

 2 service of summons. A defendant who timely returns the signed waiver shall have sixty (60)

 3 days after the date designated on the notice of lawsuit to file and serve an answer to the amended

 4 complaint or a motion permitted under Rule 12 of the Federal Rules of Civil Procedure. A

 5 defendant who fails to timely return the signed waiver will be personally served with a summons

 6 and complaint, and may be required to pay the full costs of such service, pursuant to Rule 4(d)(2)

 7 of the Federal Rules of Civil Procedure. A defendant who has been personally served shall file

 8 an answer or motion permitted under Rule 12 within thirty (30) days after service.
 9          The Clerk is further DIRECTED to send a copy of this Order to plaintiff.
10          DATED this 12th day of November 2021.
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                                                        A
                                                        John C. Coughenour
17                                                      UNITED STATES DISTRICT JUDGE

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     ORDER
     C21-1483-JCC
     PAGE - 2
